97 F.3d 1446
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Malik Abdul AL-SHABAZZ, Plaintiff-Appellant,v.Michael MOORE;  Robert E. Ward, Warden;  W.L. Eagleton;Douglas Funderbuck;  Samuel Latta;  James F. Griffin;  JamesRobinson;  Duke Holden;  Mrs. Johnson;  George N. Martin;Mr. Faulkenberry, Defendants-Appellees.
    No. 96-6494.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 20, 1996.Decided Oct. 1, 1996.
    
      Malik Abdul Al-Shabazz, Appellant Pro Se.  L. Hunter Limbaugh, WILLCOX, MCLEOD, BUYCK, BAKER &amp; WILLIAMS, P.A., Florence, South Carolina, for Appellees.
      Before NIEMEYER, HAMILTON, and MOTZ, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the magistrate judge's order denying Appellant leave to amend his 42 U.S.C. § 1983 (1994) complaint.  We dismiss the appeal for lack of jurisdiction because the order is not appealable.  This court may exercise jurisdiction only over final orders, 28 U.S.C. § 1291 (1988), and certain interlocutory and collateral orders, 28 U.S.C. § 1292 (1988);  Fed.R.Civ.P. 54(b);   Cohen v. Beneficial Indus.  Loan Corp., 337 U.S. 541 (1949).  The order here appealed is neither a final order nor an appealable interlocutory or collateral order.
    
    
      2
      We dismiss the appeal as interlocutory.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      3
      DISMISSED.
    
    